
942 So.2d 523 (2006)
STATE ex rel. Roy OWENS
v.
STATE of Louisiana.
No. 2006-KH-0738.
Supreme Court of Louisiana.
November 17, 2006.
Writ granted in part; otherwise denied. The St. Tammany Parish district attorney's office is ordered to provide relator with an estimate of the costs of reproducing public records relator has requested and to which relator is entitled. La. Const. art. XII, section 3; R.S. 44:31; R.S. 44:31.1; State ex rel. Leonard v. State, 96-1889 (La. 6/13/97), 695 So.2d 1325; State ex rel. Level v. State, 99-2266 (La. 12/17/99), 751 So.2d 869; Range v. Moreau, 96-1607 (La. 9/3/96), 678 So.2d 537. In all other respects, the application is denied.
